         Case 6:23-cv-00724-JKP Document 11 Filed 10/27/23 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

UNWIRED GLOBAL SYSTEMS LLC,

               Plaintiff,                               Civil Action No: 6:23-cv-00724-JKP

        v.                                                         PATENT CASE

KALKI COMMUNICATION                                          JURY TRIAL DEMANDED
TECHNOLOGIES PRIVATE LIMITED,


               Defendant.


                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel of

record for Defendant Kalki Communication Technologies Private Limited states that it is an Indian

corporation and no publicly held corporation owns 10% or more of its stock.
         Case 6:23-cv-00724-JKP Document 11 Filed 10/27/23 Page 2 of 2




Dated: October 27, 2023                          Respectfully submitted,


                                                By: /s/ Lance E. Wyatt
                                                    Neil J. McNabnay
                                                    Texas Bar No. 24002583
                                                    mcnabnay@fr.com
                                                    Lance E. Wyatt
                                                    Texas Bar No. 24093397
                                                    wyatt@fr.com
                                                    Adil Shaikh
                                                    Texas Bar No. 24117039
                                                    shaikh@fr.com
                                                    FISH & RICHARDSON P.C.
                                                    1717 Main Street, Suite 5000
                                                    Dallas, Texas 75201
                                                    Telephone (214) 747-5070
                                                    Facsimile (214) 747-2091


                                                COUNSEL FOR DEFENDANT
                                                KALKI COMMUNICATION TECHNOLOGIES
                                                PRIVATE LIMITED



                                CERTIFICATE OF SERVICE

       The undersigned certifies that all counsel of record were electronically served with a

copy of the foregoing on October 27, 2023, via the Court’s CM/ECF system.


                                                     /s/ Lance E. Wyatt________
                                                     Lance E. Wyatt




                                                2
